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              Case: 20-1606    Document: 37     Filed: 10/15/2020     Pages:
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                                                           Thursday, 15 October,
                                                                      Clerk, U.S. District Court, ILCD

     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                 Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                       Phone: (312) 435-5850
             Chicago, Illinois 60604                                             www.ca7.uscourts.gov




                                                            ORDER
 October 15, 2020

By the Court:


                                         CIARA VESEY,
                                         Plaintiff - Appellant

                                         v.
 No. 20-1606
                                         ENVOY AIR, INCORPORATED, doing business as AMERICAN
                                         EAGLE AIRLINES, INC.,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 4:18-cv-04124-SLD-JEH
 Central District of Illinois
 District Judge Sara Darrow


IT IS ORDERED that counsel in this appeal shall present oral argument either
telephonically or by video communications. No attorneys will be present in the courtroom.
The clerk’s office will contact counsel with further instructions.

MOTIONS TO WAIVE ORAL ARGUMENT: If the appeal can be resolved based on the
briefs and record and the decisional process would not be significantly aided by oral
argument, see FED . R. APP. P. 34(a), counsel may file a motion under Circuit Rule 34(e) to
waive oral argument. The court encourages counsel to confer with opposing counsel
when considering a motion to waive oral argument and prefers joint motions. A motion
to waive oral argument must be filed no later than seven days before the date of
argument.

 form name: c7_Order_BTC(form ID: 178)
